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                                                             April 15, 2022
VIA ECF
The Honorable Kevin McNulty, U.S.D.J.
Martin Luther King Bldg. & U.S. Courthouse
Newark, NJ 07102

           Re:        Open MRI and Imaging of RP Vestibular Diagnostics, P.A. v. Cigna Health
                      and Life Ins. Co., Docket No. 20-10345-KM-ESK

Your Honor:

        Pursuant to the Court’s April 8, 2022 Order, (ECF No. 69), please accept this letter brief
on behalf of Cigna addressing the decisions issued by the Southern District of Texas in Diagnostic
Affiliates of Northeast Hou, LLC v. United Healthcare Services, Inc., et al., No. 2:21-CV-131,
2022 WL 214101 (S.D. Tex. Jan. 19, 2022) (“Diagnostic Affiliates”) and by the District of
Connecticut in Murphy Med. Assocs., LLC v. Cigna Health & Life Ins. Co., No.
3:20CV1675(JBA), 2022 WL 743088 (D. Conn. Mar. 11, 2022) (“Murphy Medical”). Both of
these decisions address the issue of whether the FFCRA or CARES Act (the “Acts”) provide an
implied, private right of action for medical providers seeking reimbursement of health insurance
benefits.

        I.        Diagnostic Affiliates: In Diagnostic Affiliates, the Court denied defendants’
motions to dismiss, holding that there is an implied private right of action under the FFCRA and
CARES Act for providers seeking reimbursement for COVID-19 testing. 2022 WL 214101 at *7.
It was the first and so far only court to do so, and, we submit, this conclusion was patently in error.

        The Court reasoned that the mandatory reimbursement language in the Acts “supports
recognition of an implied right of action.” Id. The Court rejected the relevance of the
administrative enforcement scheme in the Acts, concluding that these provisions “cannot be said
to evidence an intent to deny a private right of action,” and that “[u]nder the circumstances” of the
pandemic, “seeking consistency in the treatment of remedies elevates form over substance where
clear rights to reimbursement were created and no other enforcement mechanism exists.” Id. at
*8. The Court also observed that a provider should not be denied a remedy due to “[l]egislative
impatience,” and a private right of action to recover mandated reimbursements would be “fully
consistent” with the legislative scheme. Id. at *9.

        This, of course, turns the proper analysis upside down. The law is beyond settled that a
clear manifestation of legislative intent is required before the courts will imply a private cause of
action. See Wisniewski v. Rodale, Inc., 510 F.3d 294, 301 (3d Cir. 2007); Three Rivers Ctr. v.
Hous. Auth. of the City of Pittsburgh, 382 F.3d 412, 421 (3d Cir. 2004). The absence of evidence
that the legislature intended to preclude a private right of action creates a presumption in favor of
a private right of action that cannot be reconciled with the law. Further, the Diagnostic Affiliates
court’s concern that providers might be left without a remedy is not well taken—it is the legislature


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that sets policy in that regard, not the courts—and wrong in any event. The statute delegates
enforcement to the Secretary of Labor, a fact that weighs heavily against a private right of action.

        Finally, in the unlikely event that this Court were to adopt the reasoning in Diagnostic
Affiliates, the Plaintiff here could not recover. In Diagnostic Affiliates, the plaintiff had allegedly
provided COVID-19 testing to individuals insured by defendants at its published cash price of
$900 per test, id. at *8, a prerequisite to compliance with the statute. Here, as noted in defendant’s
briefs, plaintiff has made no such allegation. See ECF No. 51 at 11 n.2.

        II.     Murphy Medical came to the exact opposite conclusion, rejecting an implied
private cause of action under the FFCRA and CARES Act. The Court correctly rejected arguments
advanced by Plaintiff here, holding that the mandatory payment language of the CARES Act does
not reflect an intent to imply a private remedy and neither Congress’s “rush” to legislate during
the pandemic nor the prospect that plaintiff would be left remediless supports a finding of
Congressional intent regarding a private right of action. 2022 WL 743088, at *5. Murphy Medical
disapproved Diagnostic Affiliates, observing that the “Supreme Court ‘has increasingly
discouraged the recognition of implied rights of actions without a clear indication of congressional
intent[.]’” Id. at *6 (quoting Duplan v. City of N.Y., 888 F.3d 612, 621 (2d Cir. 2018)).

        But, the Murphy Medical court undermined its own, closely reasoned treatment of the
statutory right of action by holding in a single sentence and absent any discussion or citation
whatsoever, that plaintiff could pursue a cause of action under ERISA for a violation of the FFCRA
or CARES Act. The sum of the court’s reasoning appears in the statement “the reimbursement
obligation derives from the Coronavirus Legislation, which effectively modified the terms of
ERISA plans[.]” Id. at *8. No legal ground is advanced for this ‘modification’ of the plan(s).1
The better view is that, while a plan lacking coverage for COVID testing may be out of compliance
with the FFCRA and CARES Act, Congress intended this to be a matter for regulatory enforcement
and so provided by delegating enforcement to the Secretary. In any event, it is clear that these
statutes are not incorporated within and do not amend ERISA. ECF No. 51 at 17 n.4. The case
law, noted in defendant’s briefs, calls it an “end run” around Congressional intent when plaintiffs
use ERISA to bring a private lawsuit based on coverage-mandate statutes that do not provide for
one. Id. at 17-18, ECF No. 66 at 10-11.

       The foundation of the federal courts’ jurisprudence on implied private statutory rights of
actions rests on the primacy of Congressional intent. Murphy Medical’s one-line holding, if it
were correct, would make this intent a nullity. All statutes that mandate a particular level of
coverage would gain a private right of action via ERISA, regardless of what Congress intended.
This cannot be the law and this Court should not follow Murphy Medical’s truncated and
unexplained holding to that effect.

1   Indeed, elsewhere the Court rejected equitable reformation of the plan, a holding it rendered
    dictum by the ‘modification’ it so easily found that the statutes made directly.
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       We thank Your Honor for your kind attention to this submission. Please do not hesitate to
have the Court’s staff contact me with any questions or if we may be of any service whatsoever to
the Court.



                                                    Respectfully,

                                                    s/ E. Evans Wohlforth, Jr.

                                                    E. Evans Wohlforth Jr., Esq.



cc:    All Counsel of Record (via ECF)
